      Case 4:07-cv-05944-JST Document 1571-1 Filed 02/15/13 Page 1 of 2



 1   Mario N. Alioto (56433)
     Lauren C. Capurro (241151)
 2   TRUMP, ALIOTO, TRUMP & PRESCOTT LLP
     2280 Union Street
 3   San Francisco, CA 94123
     Telephone: (415) 563-7200
 4   Facsimile: (415) 346-0679
     malioto@tatp.com
 5   laurenrussell@tatp.com

 6   Interim Lead Counsel for Indirect-Purchaser Plaintiffs

 7

 8

 9                               UNITED STATES DISTRICT COURT

10                            NORTHERN DISTRICT OF CALIFORNIA

11                                    SAN FRANCISCO DIVISION

12   IN RE: CATHODE RAY TUBE (CRT)                   Master File No. CV-07-5944-SC
     ANTITRUST LITIGATION
13                                                   MDL No. 1917

14                                                   DECLARATION OF MARIO N. ALIOTO
                                                     IN SUPPORT OF INDIRECT-
15                                                   PURCHASER PLAINTIFFS’
                                                     ADMINISTRATIVE MOTION TO SEAL
16                                                   DOCUMENTS PURSUANT TO CIVIL
                                                     LOCAL RULES 7-11 AND 79-5(d)_______
17

18

19

20          I, Mario N. Alioto, declare:
21          1.      I am an attorney licensed to practice before the courts of the State of California,
22   and a partner of the law firm Trump, Alioto, Trump & Prescott LLP, attorneys for the Indirect-
23   Purchaser Plaintiffs. I make this Declaration in Support of Indirect-Purchaser Plaintiffs’ Motion
24   to File Under Seal. I have personal knowledge of the facts stated in this Declaration and, if
25   called as a witness, I could and would testify competently to them.
26          2.      The documents or portions of the documents submitted under seal contain either
27   (a) material designated by Defendants pursuant to the Stipulated Protective Order (Dkt. 306, June
28   18, 2008) as “Confidential” or “Highly Confidential” or (b) analysis of, references to, or


       ALIOTO DECLARATION IN SUPPORT OF INDIRECT-PURCHASER PLAINTIFFS’ ADMINISTRATIVE
            MOTION TO SEAL DOCUMENTS — MASTER FILE NO. CV-07-5944-SC, MDL NO. 1917
      Case 4:07-cv-05944-JST Document 1571-1 Filed 02/15/13 Page 2 of 2



 1   information taken directly from material designated by Defendants pursuant to the Stipulated

 2   Protective Order as “Confidential” or “Highly Confidential.”

 3          I declare under penalty of perjury pursuant to the laws of the State of California that the

 4   foregoing statements of fact are true and correct.

 5                  Executed this 15th day of February, 2013 in San Francisco, California.

 6                                                        Respectfully submitted,

 7                                                        /s/ Mario N. Alioto
                                                          Mario N. Alioto
 8

 9

10

11   3242896v1

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                      2
       ALIOTO DECLARATION IN SUPPORT OF INDIRECT-PURCHASER PLAINTIFFS’ ADMINISTRATIVE
            MOTION TO SEAL DOCUMENTS — MASTER FILE NO. CV-07-5944-SC, MDL NO. 1917
